  Case 1:17-cv-02989-AT Document 716-3 Filed 03/05/20 Page 1 of 13




           Exhibit 3
Declaration of Rhonda J. Martin
       Case 1:17-cv-02989-AT Document 716-3 Filed 03/05/20 Page 2 of 13




             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

                                               )
 DONNA CURLING, et al.                         )
                                               )
Plaintiff,                                     )
                                               )   CIVIL ACTION FILE NO.: 1:17-cv-
 vs.                                           )   2989-AT
                                               )
BRAD RAFFENSPERGER, et al.                     )
                                               )
 Defendant.                                    )
                                               )


       SUPPLEMENTAL DECLARATION OF RHONDA J. MARTIN

         RHONDA J. MARTIN declares, under penalty of perjury, pursuant to

28 U.S.C. § 1746, that the following is true and correct:


1. I have personal knowledge of all facts stated in this declaration and, if

   called to testify, I could and would testify competently thereto.

2. Since my supplemental declaration of December 16, 2019, I have

   observed the use of the Dominion Voting System during the Special

   Election for House District 171 on January 28, 2020 in Colquitt County

   necessitated by the death of Representative Jay Powell (Bridge Creek

   Precinct in Moultrie, Georgia; Doerun Community Center in Doerun,

   Georgia; Funston City Hall in Funston, Georgia; Hamilton Volunteer Fire

   Department in Hartsfield, Georgia; Hartsfield Precinct in Hartsfield,

   Georgia; Mill Creek Precinct in Moultrie, Georgia; Monk Precinct in
   Case 1:17-cv-02989-AT Document 716-3 Filed 03/05/20 Page 3 of 13




   Moultrie, Georgia; and T
                          _ higpen Precinct in Doerun, Georgia) and on

   February 4, 2020 for the Special Election in Senate District 13

   necessitated by the death of Senator Greg Kirk when I visited Crisp

   County (Courthouse Annex in Cordele, Georgia), Dooly County

   (Unadilla Precinct in Unadilla, Georgia; Pinehurst Precinct in Pinehurst,

   Georgia; Byromville Precinct in Byromville, Georgia; Lilly Precinct in

   Lilly, Georgia; and Vienna Precinct in Vienna, Georgia), and Sumter

   County (Chambliss Precinct in Americus, Georgia; and Southerfield

   Airport in Americus, Georgia).

3. On Election Day, February 4, 2020, Doug Richards of TV Channel

   1 lAlive in Atlanta, Georgia, interviewed a number of voters and poll

   workers about their use of the new voting machines in SD13 and their

   concerns about ballot secrecy. The video can be found at

   http://bit.ly/11aliveBallotSecrecy. I can be seen at timestamp 2:05 and

   attest that this is a true and correct record of that portion of my interview

   conducted outside the Vienna Voting Precinct in Dooly County. The

   typical configuration of voting stations at that time, as demonstrated at

   the Vienna Voting precinct, can be seen at timestamp 3:02.

4. On February 13, 2020, Georgia Election Director Chris Harvey entered a

   memo on the Georgia Secretary of State election officials'
    Case 1:17-cv-02989-AT Document 716-3 Filed 03/05/20 Page 4 of 13




   communication hub - The Buzz Post - called, "Polling Place Privacy for

   Voters" (Exhibit A) where he referenced 3 diagrams he had uploaded to

   Firefly under Training>Polling Place Information (Exhibit B). These

   illustrated voter privacy problems with the Dominion Ballot Marking

   Devices and presented "effective/preferred precinct layouts."

5. One new configuration (Exhibit B page 3) recommended by the Secretary

   of State's office involves turning the voting stations that are typically

   lined up flush against a wall with touchscreens facing the center of the

   room so that the touchscreens face the perimeter walls.

6. After receiving that guidance from the Secretary of State' s Office, some

   polling places that I have visited since March 3, 2020 have reconfigured

   their machines as shown in the Marietta Daily Journal online of March 3,

   2020 ( https://tinyurl.com/wvl7sgn ).

7. With this Secretary of State recommended configuration, voters and poll

    workers walk behind voters who are voting to access other machines in
    Case 1:17-cv-02989-AT Document 716-3 Filed 03/05/20 Page 5 of 13




   the row. When doing so, they have visual access to the voters' electronic

   ballots.

8. In all precincts that I visited, the blue privacy panels supplied by the

   Secretary of State are in use. With the machines reconfigured to face

   perimeter walls, rather than the center of the room, the privacy panels

   make it impossible for the poll workers to monitor the interactions of the

   voters with the BMDs and their associated printers, thus exposing the

   voting equipment to potential tampering, or damage.

9. On March 3, 2020, I visited 4 of the precincts in Sumter County where

   voting was underway for the SD13 Runoff Election. In most cases, poll

   managers had attempted to configure the machines to protect ballot

   secrecy. However, the number of machines I observed did not always

   satisfy the 1 for every 250 elector requirement of HB 316. In the

   Chambliss Precinct they had 3 of the 4 required machines; in the

   Southerfield Airport Precinct, they had 3 out of the 7 required machines;

   and, in the Rees Park Economic Development Center Precinct, they had 3

   out of the 12 required. The Rees Park Economic Development Center

   room is very large and could easily accommodate additional machines.

   This is not the case for the Chambliss Precinct or the Southerfield Airport

   Precinct.
Case 1:17-cv-02989-AT Document 716-3 Filed 03/05/20 Page 6 of 13
Case 1:17-cv-02989-AT Document 716-3 Filed 03/05/20 Page 7 of 13




                    Exhibit A
                 Case 1:17-cv-02989-AT Document 716-3 Filed 03/05/20 Page 8 of 13


Jennifer Doran

From:                              DoNotReply@sos.ga.gov
Sent:                              Thursday, February 13, 2020 12:05 PM
To:                                DoNotReply@sos.ga.gov
Subject:                           The Buzz Post - Polling Place Privacy for Voters


A new discussion has
been posted in The Buzz by Harvey, Chris on 2/13/2020 11:52 AM



I've uploaded three diagrams that illustrate potential problems and solutions to securing voter privacy. This is based on
reported concerns and our own observations. Simply said, having the BMD screens facing areas where observers or
people waiting to vote decreases the privacy of the voter. Simple solutions involving turning the BMDs so that face away
from the public are illustrated in the diagrams. See also O.C.G.A. 21-2-267(a)

The diagrams can be found on Firefly under Training>Polling Place Information

Chris Harvey



If you would like to opt out of receiving email notifications for this
discussion, click here.



Georgia Open Records Act: Under Georgia law, all information, including e-mail, written letters, documents and phone
messages, sent to the County Board of Commissioners and County offices and employees is subject to Public Records
law. This includes the sender's e-mail address, home address or phone number if shown in the message, the content of
the message and any associated attachments to the mail.




                                                              1
Case 1:17-cv-02989-AT Document 716-3 Filed 03/05/20 Page 9 of 13




                    Exhibit B
Case 1:17-cv-02989-AT Document 716-3 Filed 03/05/20 Page 10 of 13
Case 1:17-cv-02989-AT Document 716-3 Filed 03/05/20 Page 11 of 13
Case 1:17-cv-02989-AT Document 716-3 Filed 03/05/20 Page 12 of 13
Case 1:17-cv-02989-AT Document 716-3 Filed 03/05/20 Page 13 of 13
